Case: 4:23-cv-01400-MTS          Doc. #: 50      Filed: 05/22/25      Page: 1 of 5 PageID #: 260




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

JUSTIN ROBERSON, as administrator of)
the Estate of Michael Steward, Jr. Deceased,
                                    )
and individually and as Plaintiff Ad Litem for
                                    )
Michael Steward, Jr.,               )
                                    )
        Plaintiff,                  )
                                    )
    vs.                             )                         Case No. 4:23-cv-01400-MTS
                                    )
SSM HEALTH CARE ST. LOUIS d/b/a SSM )
HEALTH ST. MARY’S HOSPITAL,         )
                                    )
        Defendant.                  )

                                MEMORANDUM AND ORDER

       This matter is before the Court on Plaintiff Justin Roberson’s “Motion to Allow Updated

Physician’s Report and Extension of Time to Respond to Motion for Summary Judgment.” Doc.

[48]. Defendant SSM Health Care St. Louis (“SSM Health”) opposes the motion. Doc. [49]. For

the reasons that follow, the Court will grant the motion in part and deny it in part.

                                                  *

       This wrongful-death action arises out of the care that Michael Steward, Jr. received at St.

Mary’s Hospital in St. Louis, Missouri, where he died. Plaintiff Justin Roberson, Mr. Steward’s

brother, filed suit on November 03, 2023, alleging that medical negligence committed by SSM

Health’s employees caused his brother’s death. Doc. [1] ¶ 41. He seeks damages pursuant to

Missouri Revised Statutes § 537.080–90. Id. ¶ 40.

       To aid the course of this litigation, the Court issued a Case Management Order setting forth

relevant deadlines, many pertaining to discovery. Doc. [31]. Under that Order, Plaintiff was

required to complete his expert disclosures no later than January 31, 2025. Doc. [31] at 1; see Fed.
Case: 4:23-cv-01400-MTS          Doc. #: 50       Filed: 05/22/25     Page: 2 of 5 PageID #: 261




R. Civ. P. 26(a)(2). Complying with that deadline, Plaintiff submitted an expert report authored

by Dr. Francis J. Averill, opining that two of Mr. Steward’s doctors failed to render treatment

consistent with the accepted standards of care and that their failure “directly caused or directly

contributed to Mr. Michael Steward’s death.” Doc. [46-1] at 4. According to Defendant, this

initial report was deficient because neither of the two doctors at issue were SSM Health employees.

See Wilcox v. United States, 881 F.3d 667, 670 (explaining that, to hold a hospital liable for medical

negligence, Missouri law requires employment relationship between the hospital and the allegedly

negligent doctor (citing Jefferson ex rel. Jefferson v. Mo. Baptist Med. Ctr., 447 S.W3d 701, 705

(Mo. Ct. App 2014))). At an informal status conference held to discuss this matter as well as

related scheduling issues, the Court gave the parties leave to file an amended Joint Scheduling

Plan to assist in setting a new case schedule. The amended schedule allowed Plaintiff to update

Dr. Averill’s expert report, granted Plaintiff additional time to produce Dr. Averill for deposition,

and extended Defendant’s respective expert disclosure deadlines. See Docs. [39], [42].

       Plaintiff timely submitted Dr. Averill’s updated report. In it, Dr. Averill supplemented his

prior opinions by discussing the conduct of two SSM Health respiratory therapists. He opined that

they, “within a reasonable degree of medical probability[,] departed from accepted standards of

care in the treatment rendered to Mr. Michael Steward.” Doc. [46-6]. From Defendant’s

perspective, however, the updated report was still deficient because—in contrast to the two non-

employee doctors discussed above—the updated report contained no opinion that the two

therapists’ purportedly negligent conduct caused Mr. Steward’s death. Defendant notified Plaintiff

of the defect, Doc. [48] ¶ 2, and on April 21, 2025, moved for summary judgment on that basis.

Doc. [45] ¶ 7 (“In the absence of admissible evidence establishing causation, Plaintiff cannot




                                                -2-
Case: 4:23-cv-01400-MTS                 Doc. #: 50         Filed: 05/22/25          Page: 3 of 5 PageID #: 262




establish an element essential to the case and summary judgment is appropriate.” (citing Cantrell

v. Coloplast Corp., 76 F.4th 1113, 1116 (8th Cir. 2023))).

         Plaintiff received a third report from Dr. Averill on May 08, 2025, and filed the instant

motion on May 12, 2025. Doc. [48] ¶ 3; Doc. [48-2] (newest report). The new report repeats

much of Dr. Averill’s prior opinions but, as relevant here, adds a new opinion that “the respiratory

therapists’ negligence, the nursing staff’s negligence and Saint Mary Hospital’s negligence . . .

contributed to Mr. Michael Steward’s death.” Doc. [48-2] at 4. Citing to Rule Federal Rule of

Civil Procedure 26(e), Plaintiff asks the Court allow Dr. Averill’s newest report. Id. ¶ 4. Plaintiff

argues that, in seeking as much, he is “only attempting to correct a defect in the report” and that

he “submitted a timely report but is only trying to update it.” Id. ¶ 5. Further, he conclusorily

states that there “would be no prejudice to Defendant if the updated report is allowed.” Id.

According to Plaintiff, Dr. Averill’s third report would “moot” Defendant’s motion for summary

judgment because the new report would cure the defect on which Defendant’s motion is premised.

Id. ¶ 6. For this reason, “Plaintiff [also] requests an extension of time to file a response to

Defendant’s motion for summary judgment to a time after the Court has had a chance to rule on

the [present] motion.” Id. In response, Defendant argues that granting a third amended report

would be both improper, see Doc. [49] at 4–6 (arguing that Plaintiff has failed to satisfy any

relevant standard),* and futile, see id. at 6–7 (asserting that the newest report could not withstand




*
  Specifically, Defendant discusses the “good cause” standard for granting an extension of time, see Fed. R. Civ. P.
6(b), as well as the “substantial justification” or “harmlessness” standards for permitting the use of untimely disclosed
materials, see Fed. R. Civ. P. 37(c). Because Plaintiff does not move for relief under either of these rules or attempt
to argue that any of these standards are satisfied under the circumstances, the Court does not analyze them. Cf. United
States v. Sineneng-Smith, 590 U.S. 371, 375–76 (2020) (Ginsburg, J.) (“[O]ur system is designed around the premise
that parties represented by competent counsel know what is best for them, and are responsible for advancing the facts
and argument entitling them to relief.” (cleaned up)).

                                                         -3-
Case: 4:23-cv-01400-MTS          Doc. #: 50       Filed: 05/22/25     Page: 4 of 5 PageID #: 263




summary judgment because it fails to “give causation opinions to a reasonable degree of medical

certainty” as required under Missouri law).

       The Court will deny Plaintiff’s motion with respect to Dr. Averill’s third report because

the relief Plaintiff seeks falls outside of Rule 26(e)’s limited scope. Under the rule, a party who

has made a discovery disclosure “must supplement or correct its disclosure or response: (A) in a

timely manner if the party learns that in some material respect the disclosure or response is

incomplete or incorrect . . . or (B) as ordered by the court.” Fed. R. Civ. P. 26(e). This provision

“does not . . . allow parties to disclose new expert opinions under the guise of supplementation.”

Evans v. Krook, 680 F. Supp. 3d 1080, 1105 (D. Minn. July 6, 2023); see 6 Moore’s Federal

Practice – Civil § 26.131 (“A party may not use a supplemental report to disclose information that

should have been disclosed in the initial expert report, thereby circumventing the requirement for

a timely and complete expert witness report.”).

       Here, it is apparent that Plaintiff seeks leave to submit a new expert opinion rather than

merely clarify or supplement an old one within the meaning of Rule 26(e). Indeed, “there is no

evidence that Plaintiff[] subsequently learned of information that was previously unknown or

unavailable to [him]” and is seeking to add that new information to Dr. Averill’s report.

Petrone v. Werner Enters., 940 F.3d 425, 434 (8th Cir. 2019) (holding that “the district court

correctly determined that the revised report [was] not a Rule 26(e) supplement”).             Nor is

Plaintiff attempting to correct an error in Dr. Averill’s prior report. Instead, Plaintiff seeks leave

to submit a new report only after Defendant’s summary judgment motion revealed significant

flaws in the current one. Plaintiff’s characterization that he “is only trying to update” or “correct

a defect” in the report is belied by his contention that Dr. Averill’s third report would “moot”

Defendant’s motion for summary judgment. Doc. [48] ¶ 6. Only a material alteration or a



                                                -4-
Case: 4:23-cv-01400-MTS          Doc. #: 50      Filed: 05/22/25     Page: 5 of 5 PageID #: 264




substantive addition to the report could have such an effect, and Rule 26(e) does not permit as

much. See Williams v. Tesco Servs., 719 F.3d 968, 976 (8th Cir. 2013) (noting the inapplicability

of Rule 26(e) where an expert “was materially altering, not merely clarifying his original report”).

       The Court proceeds to Plaintiff’s request for an extension of time to respond to Defendant’s

motion for summary judgment. Id. ¶ 6. Because Plaintiff moved for this extension before his

response deadline expired, see E.D. Mo. L.R. 4.01(F) (setting a twenty-one-day deadline to oppose

a motion for summary judgment), the Court can extend the deadline “for good cause.” Fed. R.

Civ. P. 6(b)(1)(A). “The primary measure of good cause is the movant’s diligence in attempting

to meet deadlines.” Albright v. Mt. Home Sch. Dist., 926 F.3d 942, 951 (8th Cir. 2019) (citation

omitted). Upon consideration of all the relevant circumstances, the Court finds that there is

sufficient good cause to warrant a modest extension.

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiff’s Motion to Allow Updated Physician’s Report

and Extension of Time to Respond to Motion for Summary Judgment, Doc. [48], is GRANTED

in part and DENIED in part as discussed herein.

       IT IS FURTHER ORDERED that, no later than June 02, 2025, Plaintiff shall file his

response in opposition to Defendant’s motion for summary judgment.

       Dated this 22nd day of May 2025.



                                              MATTHEW T. SCHELP
                                              UNITED STATES DISTRICT JUDGE




                                               -5-
